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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                           SAN JOSE DIVISION

                                   6

                                   7     TEVA PHARMACEUTICALS USA, INC.,                      Case No. 24-cv-03567-BLF
                                   8                     Plaintiff,
                                                                                              ORDER TERMINATING MOTIONS
                                   9              v.                                          TO DISMISS AND MOTIONS TO STAY
                                                                                              DISCOVERY AS MOOT: AND
                                  10     CORCEPT THERAPEUTICS, INC., et al.,                  VACATING HEARINGS
                                  11                     Defendants.                          [Re: ECF Nos. 34, 35, 36, 37]
                                  12
Northern District of California
 United States District Court




                                  13           Defendants’ motions to dismiss (ECF Nos. 34, 36) and motions to stay discovery pending
                                  14   resolution of Defendants’ motions to dismiss (ECF Nos. 35, 37) filed August 26 are hereby
                                  15   TERMINATED AS MOOT in light of Plaintiff’s filing of a first amended complaint (ECF No. 39)
                                  16   on September 13, 2024. See Fed. R. Civ. P. 15(a)(1)(B) (permitting a plaintiff to amend once as a
                                  17   matter of course within 21 days after service of a Rule 12(b) motion). The hearings on the motions
                                  18   to dismiss and motions to stay discovery, previously scheduled for December 5, 2024, are
                                  19   VACATED. The parties are advised that the page limits for any future Motion to Dismiss shall be
                                  20   twenty-five (25) pages for the motion or opening brief, shared by all Defendants, twenty-five (25)
                                  21   pages for the Plaintiff’s opposition or response brief, and fifteen (15) pages for the reply brief, shared
                                  22   by all Defendants. See Standing Order re Civil Cases § IV.A.
                                  23

                                  24           IT IS SO ORDERED.
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                                  26   Dated: September 16, 2024
                                  27                                                      ______________________________________
                                                                                          BETH LABSON FREEMAN
                                  28                                                      United States District Judge
